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                                 IN THE UNITED STATES DISTRICT COURT
                                FOR THE NORTHERN DISTRICT OF GEORGIA
                                           ATLANTA DIVISION

             UNITED STATES OF AMERICA,            :    CRIMINAL ACTION
                                                  :
             v.                                   :    NO: 1:10-CR-53-CAP-ECS
                                                  :
             CORNELL BRUMFIELD.                   :


                                    REPORT AND RECOMMENDATION OF
                                   UNITED STATES MAGISTRATE JUDGE

                                                    I.
                                               Introduction

                    Pending before the Court is Defendant’s motion to suppress

             evidence.      [Doc. No. 68].     The Court held an evidentiary hearing on

             Defendant’s motion on June 20, 2011.            [Doc. No. 91].     Thereafter,

             on July 29, 2011, Defendant filed his post-hearing brief. [Doc. No.

             94].   The government filed its response on August 12, 2011.             [Doc.

             No. 95].       No reply having been filed, this matter is now ripe for

             decision.       For the reasons addressed herein, the Court RECOMMENDS

             that Defendant’s motion to suppress [Doc. No. 68] be DENIED.

                                                 II.
                                         Factual Background

                    After    reviewing   the    transcript    of   the   June   20,   2011,

             evidentiary hearing and the parties’ post-hearing briefs, the Court

             derives the following relevant facts:

                    On October 13, 2009, at approximately 11:00 p.m., Officer

             Carlos Mathis, of the Cobb County Police Department, traveled on




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             South     Cobb    Drive   behind   a   vehicle   operated   by   Defendant.

             (Transcript of June 20, 2011, Evidentiary Hearing (hereinafter “T.”)

             at 5, 12).       While waiting at a traffic light at the intersection of

             South Cobb Drive and Highland Parkway, Officer Mathis performed a

             routine check through NCIC on the vehicle’s tag number.           (T. at 5,

             13).     The tag check revealed that the vehicle driven by Defendant

             did not have insurance.        (T. at 5, 13, 24).     Officer Mathis then

             initiated a traffic stop, and Defendant pulled the vehicle into an

             adjacent Shell service station.            (T. at 5, 14).   Once stopped,

             Officer Mathis exited his vehicle and approached Defendant, during

             which time he noticed an additional male passenger seated in the

             front.     (T. at 5-6).      Officer Mathis explained to Defendant the

             reason for the stop and asked both men for identification.             (T. at

             5, 14).     After obtaining driver’s licenses from both men, Officer

             Mathis went back to his patrol car. (T. at 5, 14).

                    Before checking the driver’s licenses in the NCIC system,

             Officer Mathis requested assistance from another unit.           (T. at 17,

             21-22, 25; Def.’s Ex. 2).          Officer Mathis then ran the licenses

             through NCIC and discovered that Defendant had an active arrest

             warrant from Fulton County.        (T. at 5-6, 14, 17).     Officer Mathis

             then waited for assistance and, after two officers arrived, he

             walked back to the vehicle driven by Defendant, informed Defendant

             of the outstanding warrant, and placed Defendant under arrest.           (T.

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             at 6, 17). Defendant was removed from the vehicle and placed in the

             backseat of Officer Mathis’s patrol car. (T. at 6). Officer Mathis

             returned the passenger’s driver’s license to the passenger and did

             not arrest him because there were no other warrants or outstanding

             charges.   (T. at 6-7, 17-18).

                   Because the vehicle was uninsured and neither of the two men

             was its owner, Officer Mathis impounded the vehicle pursuant to Cobb

             County impoundment policy and procedure.       (T. at 7-9; Gov.’s Ex. 1,

             at 2). As part of the impoundment process, Officer Mathis conducted

             an on-scene inventory search of the vehicle.        The inventory search

             revealed a loaded Glock pistol in the vehicle’s trunk and a police

             scanner on the passenger seat floor board.       (T. at 7, 19).    Officer

             Mathis then conducted a criminal history check on Defendant, which

             revealed prior felony convictions, including bank robbery. (T. at

             9).

                                                III.
                                            Discussion

                   This case presents the question of whether evidence in the form

             of the Glock pistol was obtained as a result of an illegal arrest.

             Defendant contends that the arrest was illegal, and that, as a

             result, the impoundment and the inventory search were also illegal,

             thus tainting the evidence found in the trunk as “fruit of the

             poisonous tree.”     Wong Sung v. United States, 371 U.S. 471, 488


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             (1963); see also United States v. Epps, 613 F.3d 1093, 1099 (11th

             Cir. 2010).    In support of his motion, Defendant argues that the

             officers actually arrested him “before Officer Mathis learned

             information regarding an outstanding warrant from Fulton County,”

             [Def. Br. at 6], which makes the arrest an illegal seizure because

             it was lacking probable cause. [Def.’s Br. at 5-6]. The Government

             counters that the stop of Defendant’s vehicle was justified under

             Terry v. Ohio, 392 U.S. 1 (1968), and “the facts support at least

             reasonable suspicion, if not probable cause to briefly detain and

             question [D]efendant” before his subsequent arrest on the warrant.

             [Gov.’s Br. at 5].

             A.   Defendant’s Traffic Stop was not an Illegal Arrest

                   1.   The Traffic Stop

                   As an initial matter, Officer Mathis’s stop of the vehicle

             driven by Defendant was valid under Terry v. Ohio.              In Terry, the

             Supreme Court held that a police officer may conduct a brief,

             warrantless,   investigatory    stop     of   an   individual    “where   [he]

             observes unusual conduct which leads him to reasonably conclude in

             light of his experience that criminal activity may be afoot.”              392

             U.S. at 30; see also United States v. Hunter, 291 F.3d 1302, 1305-

             1306 (11th Cir. 2002).      To justify such a stop, the officer must

             point to specific and articulable facts, together with rational

             inferences from those facts, that reasonably suggest that criminal

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             activity has occurred or is imminent. Terry, 392 U.S. at 21; United

             States     v.   Griffin,   109   F.3d   706,   707   (11th   Cir.   1997).      In

             determining whether reasonable suspicion existed in a particular

             case, the Court must look at the totality of the circumstances.

             United States v. Arvizu, 534 U.S. 266, 274 (2002).

                   Here, Officer Mathis initiated the traffic stop of the vehicle

             driven by Defendant after a license plate check revealed the vehicle

             did not have insurance. Defendant offers no argument to suggest the

             initial stop was not justified and even acknowledges it occurred

             because Officer Mathis “was provided information that the vehicle

             driven by Mr. Brumfield did not have insurance.”             [Def.’s Br. at 1-

             2].   Thus, under Terry, Officer Mathis had reasonable suspicion, if

             not probable cause, to stop Defendant’s vehicle for the insurance

             violation.

                   2.    Defendant’s Detention After the Stop

                   Defendant argues, however, that he was illegally placed under

             arrest after the traffic stop but before Officer Mathis learned of

             Defendant’s outstanding warrant.            [Def.’s Br. at 3, 6].            Under

             Terry, an investigative stop that is justifiable at its inception

             must also be “related in scope to the circumstances which justified

             the interference in the first place.”            Terry, 392 U.S. at 19-20.

             Whether Defendant’s seizure after the stop remained consistent with

             Terry or amounted to an arrest “depends on the nature and degree of

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             intrusion under the totality of the circumstances.”         United States

             v. Diaz-Lizaraza, 981 F.2d 1216, 1221 (11th Cir. 1993).         Factors to

             consider in distinguishing arrests from Terry stops include: “(1)

             the law enforcement purpose served by the detention; (2) the

             diligence with which the officers pursued the investigation; (3) the

             scope and intrusiveness of the investigation; and (4) the duration

             of the detention.”     United States v. Street, 472 F.3d 1298, 1306

             (11th Cir. 2006) (quoting United States v. Hardy, 855 F.2d 753 (11th

             Cir. 1988)).

                  In the instant case, Officer Mathis’s actions after the stop

             did not amount to an illegal arrest of Defendant. After his initial

             stop of the uninsured vehicle, Officer Mathis explained to Defendant

             the reason the vehicle was pulled over.         In this brief period of

             questioning, Officer Mathis learned that neither Defendant nor his

             passenger    owned   the   vehicle.       Officer    Mathis    asked   for

             identification from both men, and he performed a routine check on

             NCIC that revealed an outstanding warrant for Defendant’s arrest.

             All of these activities are permissible by an officer engaged in a

             routine traffic stop. See, e.g., United States v. Purcell, 236 F.3d

             1274, 1277-78 (11th Cir. 2001)(discussing the well established rule

             that officers conducting a traffic stop may prolong the detention

             to investigate the driver’s license and vehicle registration);

             United States v. Simmons, 172 F.3d 775, 778 (11th Cir. 1999)

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             (stating that police may conduct a variety of checks on the driver

             and his car after a valid stop, including “questioning the driver

             about the traffic violation ... and running a computer check for

             outstanding warrants”); Hardy, 855 F.2d at 755, 757 (discussing

             officers’ check for warrants after traffic stop);        United States v.

             Geboyan, 367 F.App’x 99 (11th Cir. 2010) (discussing reasonableness

             of detaining a defendant for twenty minutes to perform a driver’s

             license and background check on vehicle’s occupants).

                  Defendant’s only argument in support of illegality speculates

             that because Officer Mathis called for assistance before learning

             of Defendant’s outstanding arrest warrant, “the logical conclusion”

             is that additional officers were already on scene and that Defendant

             was already arrested.     [Def.’s Br. at 3, 6].       With nothing more,

             Defendant’s argument is not persuasive.          Nothing in the record

             indicates the stop was prolonged, unreasonably delayed, or executed

             for any purpose other than the legitimate need to enforce state

             traffic law.    Defendant was not handcuffed or placed in Officer

             Mathis’s vehicle at any point before it was determined that an

             active arrest warrant existed. [T. at 5-6].       In short, the totality

             of the circumstances shows overwhelmingly that Officer Mathis’s

             post-stop actions were reasonably related in scope to the reasons

             for the initial stop; the fact that two officers arrived on the

             scene and assisted him does not fundamentally change the nature and

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             degree of that intrusion.          See Terry, 392 U.S. at 19-20; Diaz-

             Lizaraza, 981 F.2d at 1221; Street, 472 F.3d at 1306.            Thus, the

             Court finds that the brief period from immediately after the stop

             until Defendant’s arrest on the outstanding warrant constituted a

             valid Terry stop and not an illegal arrest.

             B.   The Arrest and Vehicle Search

                   To the extent Defendant may be challenging his arrest insofar

             as it was based upon the outstanding arrest warrant, the Court

             further finds that Officer Mathis clearly had probable cause to make

             that arrest. An arrest is a seizure within the Fourth Amendment and

             is therefore subject to that Amendment’s reasonableness requirement.

             California v. Hodari D., 499 U.S. 621, 624 (1991); McClish v.

             Nugent, 483 F.3d 1231, 1238 (11th Cir. 2007).          Although an arrest

             in the home requires a warrant, a public arrest is justified where

             probable cause exists.     United States v. Watson, 423 U.S. 411, 417

             (1976); McClish, 483 F.3d at 1238.           A valid arrest warrant, by

             definition, provides probable cause to arrest.        See Chapman v. City

             of Atlanta, 192 F.App’x 922, 924 (2006) (explaining that a valid

             warrant justifies arrest and detention) (citing Baker v. McCollan,

             443 U.S. 137, 144-45 (1979)). Where an officer is not in possession

             of an outstanding warrant, he “must inform the defendant of the

             warrant’s   existence   and   of    the   offense   charged   and,   at   the

             defendant’s request, must show the warrant to the defendant as soon

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             as possible.”    Fed. R. Crim. P. 4(c)(3)(A); see also United States

             v. Bremby, 321 F.App’x 892, 894 (11th Cir. 2009) (explaining that

             officer who arrested defendant pursuant to outstanding arrest

             warrant did not violate federal law by making the arrest without

             having the warrant in hand, since the arrest was made pursuant to

             a valid arrest).

                  As previously discussed, Defendant was not under arrest at any

             point before Officer Mathis became aware of the outstanding warrant.

             However, when Officer Mathis learned of the valid, outstanding

             warrant for Defendant’s arrest, he had probable cause to arrest

             Defendant.   McClish, 483 F.3d at 1238; Bremby, 321 F.App’x at 894.

             Additionally, once Officer Mathis determined that Defendant was a

             convicted felon in possession of a firearm, he also had probable

             cause to arrest Defendant on that charge.        Because Officer Mathis

             had probable cause to arrest Defendant, and because Defendant was

             told of the outstanding warrant when he was arrested, the Court

             finds that no illegal seizure occurred at any time during this

             transaction.     Defendant’s motion to suppress based on lack of

             probable cause to arrest is without merit.

                  Defendant’s only challenge to the search of the vehicle and the

             seizure of the pistol is that it was the product of an illegal

             arrest. [Def.’s Br. 6-7].     Defendant is simply grasping at straws.

             Although “[e]vidence seized after an illegal seizure should be

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             suppressed as ‘fruit of the poisonous tree,’” United States v.

             Davis, 313 F.3d 1300, 1302 (11th Cir. 2002) (citing Wong Song, 371

             U.S. at 488), no illegal arrest or illegal seizure occurred in the

             instant    case.     Furthermore,     the   “policies      behind   the   warrant

             requirement are not implicated in an inventory search, nor is the

             related concept of probable cause.”          Colorado v. Bertine, 479 U.S.

             367, 371 (1987). Therefore, the Court finds that Defendant’s motion

             to suppress evidence should be DENIED.

                                                 IV.
                                             Conclusion

                  For    the    reasons   stated   above,   the    Court    concludes     that

             Defendant’s    constitutional     rights     were    not   violated   when    the

             officers stopped and subsequently arrested him on October 13, 2009.

             Having found the officers’ actions to be consistent with the Fourth

             Amendment, the Court RECOMMENDS that Defendant’s motion to suppress

             [Doc. No. 68] be DENIED.

                  SO REPORTED AND RECOMMENDED, this 19th day of September, 2011.

                                                         S/ E. Clayton Scofield III
                                                         E. Clayton Scofield III
                                                         UNITED STATES MAGISTRATE JUDGE




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